                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI

Case Number: 4:24-cv-00803-SRB

    NOTICE OF INCLUSION IN THE MEDIATION AND ASSESSMENT PROGRAM
Your case has been included in the Western District of Missouri’s Mediation and Assessment
Program (“Program” or “MAP”) for alternative dispute resolution (ADR) in accordance with the
Court’s General Order attached. The initial ADR assignment is to Mediation (ADR-M), though
another ADR Option Session (ADR-O) may be used in lieu of ADR-M when appropriate.

If you have been served, you must file a timely response to avoid the risk of a default judgment.
Inclusion in MAP does not relieve a party of any obligations or deadlines in this lawsuit.
Parties shall comply with all orders of the assigned Judge.

Your case has been randomly assigned to the following category for ADR:

X    Outside Neutral Category I (Parties select Outside Neutral)

     Outside Neutral Category II (MAP Director selects Outside Neutral)

     United States Magistrate Judge or United States Bankruptcy Judge (“MAP Judge”)

     MAP Director

Parties shall engage in ADR within 75 days of the Rule 26 conference unless: 1) an exemption
request has been made and granted by the MAP Director; 2) the case is assigned to a MAP Judge
and the MAP Judge determines it appropriate to adjust the timing; 3) the case is assigned to the
MAP Director and the MAP Director determines it appropriate to adjust the timing; or 4) other
exigent circumstances.

Questions regarding compliance with the Program or the inclusion of your case in the Program
should be addressed to the MAP Director, preferably via e-mail at map@mow.uscourts.gov. You
may also contact the MAP Office at 816-512-5080 or send a fax to 816-512-5089.

WHY ADR AND FORMS OF ADR

Although parties are entitled to pursue all claims or defenses to claims that have been asserted until
a disposition of the claims or defenses is made by the Court or a jury, most lawsuits are resolved
though ADR. The initial random assignment to ADR is for ADR-M although other forms of ADR,
known as ADR-O, are permitted under the Court’s General Order. ADR-M is more fully described
in the General Order but generally involves a confidential session with a neutral third party
assisting the parties in developing and exploring their underlying interests, risks and benefits of
litigation, legal positions, and options toward resolving the case through negotiations. As more
fully discussed in the General Order, ADR-O in lieu of ADR-M may be appropriate for a case.




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PARTICIPATION REQUIREMENTS

Required participants for mediation or other ADR option session shall attend in person unless:
a) the Court has issued an exemption; b) the MAP Director provides a written exemption; or c) the
assigned Neutral has determined that each participant requesting to engage via technology will do
so in compliance with the General Order and the purpose of the General Order can be achieved by
such participation.
Participants shall include: 1) lead trial counsel; 2) all named parties (in the event of an LLC,
business entity or corporation, the appropriate person with authority); and 3) where applicable,
other individuals (e.g., insurance company representatives).

Participants should carefully review the case prior to ADR-M or ADR-O and be prepared to
consider and discuss the risks and benefits and options for resolution short of trial. Settlement is
not required under the Program.

Confidentiality is essential in ADR-M and most other ADR-O sessions. All participants must
ensure the appropriate level of confidentiality, both before and after ADR-M or ADR-O.

OUTSIDE NEUTRAL ASSIGNMENT

Assignments to the Outside Neutral category will either be in Category I or Category II. Under
Category I, the parties select an Outside Neutral from the Court’s List or select someone outside
the Court’s List with the Director’s advance approval. Under Category II, the MAP Director selects
the Outside Neutral from the Category II List. Individuals on the Category II List are placed on
the list based on a selection process with a Selection Committee. As more fully set forth in the
General Order, if the parties are assigned to Category I, the parties shall jointly file a Designation
of Neutral (ADR event) within fourteen (14) days of the Rule 26 conference with the Neutral’s
name and the date, time, and mode of mediation. When feasible, please use the PDF fillable
Designation of Neutral on the Court’s website under the MAP tab.

In cases assigned to the Outside Neutral category, the parties are responsible for the reasonable
fees and expenses of the Outside Neutral as more fully set forth in the General Order.

When feasible, e-mail the MAP Director at the conclusion of the ADR session advising whether
the case resolved. Within 10 calendar days after the ADR session with the Outside Neutral,
either the Neutral or the parties (pro se or by counsel if represented) shall submit a post-
ADR status report to the MAP Director (separately or jointly, and preferably by email to
map@mow.uscourts.gov). When feasible, please use the PDF fillable post-ADR status report
under the MAP tab. The post-ADR status report is not to be filed in CM/ECF.

JUDGE ASSIGNMENT

If your case has been assigned to a Judge under the Program (“MAP Judge”), the MAP Judge or
an authorized member of the MAP Judge’s staff will notify you of a time for an initial telephone
conference or a specific date, time, and place of an ADR session.




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DIRECTOR ASSIGNMENT

If your case has been assigned to the MAP Director, the Director’s Office will notify you of a time
for an initial telephone conference or a specific date, time, and place of an ADR session.

SANCTIONS
The assigned Judge may sanction any party and/or counsel for: 1) refusing to cooperate or timely
cooperate in the Program; 2) failing to timely comply with requests consistent with the Program;
3) failing to participate in the Program consistent with the provisions and spirit of the General
Order; and/or 4) failing to abide by any rule or guidelines applicable to any participant in the
Program.

QUESTIONS

Please review the MAP General Order and the MAP FAQs:

https://www.mow.uscourts.gov/mediation-and-assessment-program-map
http://www.mow.uscourts.gov/sites/mow/files/MAP_FAQs.pdf.

You may also contact the MAP office:

Laurel Stevenson, Director
Charles Evans Whittaker Courthouse
400 E. 9th Street, Room 3238
Kansas City, Missouri 64106
map@mow.uscourts.gov (E-mail)
816-512-5080 (Telephone)
816-512-5089 (Facsimile)

CONFIDENTIALITY
Information relating to the substance of a case within MAP is typically confidential,
including communications with the parties and/or their counsel. Thus, information related
thereto shall not be referenced in court filings nor disclosed to the Judges of this Court unless
ordered by the assigned Judge, permitted by the MAP Director, or allowed by the MAP
General Order. Questions regarding confidentiality should be directed to the MAP Director.




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